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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WILLIAM HEMMINGS,

       Plaintiff,                                         Case No. 18-cv-2036

v.                                                        Hon. Jorge L. Alonso

INSYS THERAPEUTICS, INC.,
a Delaware corporation,

       Defendant.

                                   JOINT STATUS REPORT

        The parties, pursuant to the Court’s June 29, 2018 Minute Order [Doc. No. 29], submit

 this Joint Status Report in advance of the Continued Status Hearing set for September 6, 2018.

 The parties state that, since the Initial Status Hearing on June 28, 2018, they have served

 written discovery and each party’s responses are due on September 21, 2018. The parties also

 agreed to entry of a Confidentiality Order, which the Court entered on August 8, 2018 [Doc.

 No. 34]. The parties have no outstanding discovery issues or disputes that require the Court’s

 resolution. The parties have started the process of scheduling depositions, including of fact

 witnesses identified to date. Deposition scheduling will accelerate once the parties have

 responded to written discovery.

                                                   WILLIAM HEMMINGS


                                                   By: /s/ Michael I. Leonard
                                                          One of his attorneys

                                                   Michael I. Leonard
                                                   LeonardMeyer, LLP
                                                   120 North LaSalle, Suite 2000
                                                   Chicago, Illinois 60602
                                                   Phone: (312) 380-6559
                                                   Email: mleonard@leonardmeyerllp.com
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                                          INSYS THERAPEUTICS, INC.


                                          By: /s/ Adam P. Schwartz
                                                 One of its attorneys

                                          Adam P. Schwartz
                                          David J. Walz
                                          CARLTON FIELDS JORDEN BURT, P.A.
                                          P.O. BOX 3239
                                          Tampa, FL 33601-3239
                                          Phone: (813) 229-4336
                                          Email: aschwartz@carltonfields.com
                                                 dwalz@carltonfields.com

                                          David J. Doyle
                                          FREEBORN & PETERS LLP
                                          311 South Wacker Drive, Suite 3000
                                          Chicago, Illinois 60606
                                          Phone: (312) 360-6000
                                          Email: ddoyle@freeborn.com




                                                                                   
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                                  CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on the date shown below he caused the

foregoing Joint Status Report to be filed electronically with the court, which will cause a copy

of the document and notification of the filing to be sent to all counsel of record.


Dated: August 30, 2018                              /s/ David J. Doyle
                                                    Attorney for Insys Therapeutics, Inc.




                                                                                                    
